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                              UNITED STATES DISTRICT COURT
                                         for the
                             SOUTHERN DISTRICT OF NEW YORK

                                      Related Case Statement




Jessica DeRubbio, eta/.

                                 Plaintiffs,

        v.                                             Case Number: ff{';/ S"'3 0 ~

The Islamic Republic of Iran

                                 Defendant



                              Full Caption Of Earlier Filed Case:
             (including in bankruptcy appeals the relevant adversary proceeding)



In re Terrorist Attacks on September 11,
2001
                                                       Case Number: 03 MDL 1570 (GBD)(SN) 1




1
  This case is also related to Estate of John Patrick O'Neill Sr., eta/. v The Republic of Iraq, eta/., 04-
1076-GBN-SN; Thomas E. Burnett, Sr., in his own right as the Parent of Thomas E. Burnett, Jr.,
Deceased, et at. v. The Islamic Republic of Iran, et at., 15-cv-09903-GBN-SN; and Kathleen Ashton et at.
v. at Qaeda Islamic Army, et at., 02-cv-06977-GBN-FM. The instant complaint is being filed in accordance
with the Court's directive of May 25, 2018, ECF No. 4010 in 1:03-md-01570-GBD-SN.


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        Case 1:18-cv-05306-GBD-SN          Document 4   Filed 06/12/18     Page 2 of 2




Status of Earlier Filed Case:


D          Closed
                        (If so, set forth the procedure which resulted in closure, e.g.,
                        voluntary dismissal, settlement, court decision. Also, state whether
                        there is an appeal pending.)

                        (If so, set forth procedural status and summarize any court
lXI        Open         rulings.)



         Partial and/or full summary judgment as to Defendant Iran has been granted and
         ordered for select plaintiffs. This matter is still ongoing. On May 25, 2018, the
         Court entered an Order approving the "Iran Short Form Complaint" that is filed
         herewith. (See ECF No. 4010 in 1:03-md-01570-GBD-SN).

Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.

         This is also a September 11th case for wrongful death that is against the
         sponsors of terrorism as the Defendant Islamic Republic of Iran is involved in the
         related MDL action. We are seeking similar relief in the form of damages from
         the Defendant. The Plaintiffs herein intend to participate in the underlying
         litigations as to the other defendants in due course.




Signature:                                               Date:   June l'l..-;2018
                 Jerry S. Gold    , Esq.

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